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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 BETTE EAKIN, et al.,                         )
                                              )
               Plaintiffs,                    ) Civil Action No.: 1:22-cv-00340
                                              )
        v.                                    )
                                              ) Judge Susan P. Baxter
 ADAMS COUNTY BOARD OF                        )
 ELECTIONS, et al.,                           )
                                              )
               Defendants.                    )

                     SUPPLEMENTAL STATEMENT RESPECTING
                        MOTION FOR SUMMARY JUDGMENT

       On November 21, 2023, the Court directed the parties to supplement their summary

judgment filings in light of its grant of summary judgment in PA NAACP v. Schmidt, No. 1:22-cv-

339. See ECF No. 348. On December 13, 2023, the Third Circuit stayed this Court’s order in PA

NAACP v. Schmidt pending appeal. See ECF No. 43, PA State Conference of NAACP Branches

v. Secretary Commonwealth of PA, No. 23-3166 (3d Cir. Dec. 13, 2023). That appeal may control

the outcome of this case. Accordingly, this Court should forbear ruling in this case until all

appellate proceedings are completed and the stay is lifted in PA NAACP v. Schmidt. When the

Court does resolve this case, it should grant Intervenor-Defendants’ motion for summary judgment

for the reasons already explained. See ECF No. 271.
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Dated: January 4, 2024                Respectfully submitted,

                                      /s/ Kathleen A. Gallagher
                                      Kathleen A. Gallagher
                                      PA I.D. #37950
                                      THE GALLAGHER FIRM, LLC
                                      436 Seventh Ave., 31st Floor
                                      Pittsburgh, PA 15219
                                      (412) 308-5512
                                      kag@gallagherlawllc.com

                                      John M. Gore (pro hac vice)
                                      E. Stewart Crosland
                                      Louis J. Capozzi III
                                      JONES DAY
                                      51 Louisiana Avenue, N.W.
                                      Washington, D.C. 20001
                                      Phone: (202) 879-3939
                                      jmgore@jonesday.com
                                      scrosland@jonesday.com

                                      Thomas W. King, III
                                      Thomas E. Breth
                                      DILLON, McCANDLESS, KING,
                                       COULTER & GRAHAM, LLP
                                      128 W. Cunningham St.
                                      Butler, PA 16001
                                      Phone: (724) 283.2200
                                      tking@dmkcg.com
                                      tbreth@dmkcg.com

                                      Counsel for Intervenor-Defendants
